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   UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF VIRGINIA

                                CHARLOTTESVILLE DIVISION


  ELIZABETH SINES, ET AL.,                                   Case No. 3:17-cv-00072-NKM

  Plaintiffs,                                                Hon. Norman K. Moon
  v.

  JASON KESSLER, ET AL.,

  Defendants.


                    DEFENDANT MICHAEL PEINOVICH’S OBJECTIONS
                    TO MAGISTRATE JUDGE’S MARCH 22, 2018 ORDER

         In accordance with 28 U.S.C. § 636(b)(1) and Rule 72(a) of the Federal Rules of Civil

  Procedure, Defendant Michael Peinovich respectfully submits the following objections to certain

  portions of Magistrate Judge Hoppe’s order issued on March 22, 2018 denying Peinovich’s

  motion to restrain Roberta Kaplan, Esq. and Kaplan and Company LLP from improper and

  unethical extrajudicial statements and for sanctions.

                            Summary of Peinovich’s Motion, Ms. Kaplan’s
                         Opposition, Peinovich’s Reply, and Magistrate’s Ruling

         Peinovich filed his initial motion on March 10, 2018. ECF 258. Ms. Kaplan filed her

  opposition memorandum on March 14, 2018. ECF 273. Peinovich timely filed (electronically)

  his reply memorandum in further support late on the evening of March 21, 2018. ECF 283. The

  next morning, March 22, 2018, Magistrate Hoppe denied Peinovich’s motion. ECF 285.

         Peinovich’s Initial Motion.        In his initial motion, Peinovich presented evidence,

  including Ms. Kaplan’s tweets and excerpts from her speeches and interviews, showing that Ms.



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  Kaplan was aggressively engaging in an extrajudicial pre-trial publicity campaign against

  Peinovich and the other defendants. As Peinovich showed, Ms. Kaplan’s extrajudicial statements

  included:

              •   tweets falsely linking the defendants in this case, including Peinovich, to Nikolas

                  Cruz, the suspected murderer of 17 schoolchildren;

              •   tweets stirring up religious animus against Peinovich and the other defendants by

                  characterizing them as “modern day Hamans” who should be properly dealt with

                  on the Jewish holiday of Purim (in Rabbinical tradition, Haman is considered an

                  archetype of evil and persecutor of the Jews; he was hanged along with his ten

                  sons);

              •   tweets linking Peinovich and the other defendants to offensive Internet posts by

                  someone or some entity calling himself, herself, or itself the “American

                  Identitarian Party,” an entity or person with which Peinovich had no association

                  whatever and that may have been a troll or a shill by someone hostile to the

                  defendants;

              •   Ms. Kaplan’s on-stage televised interviews before a large audience at a feminist

                  MAKERS conference,        in which the editor in chief of Huffington Post also

                  participated and which was potentially shown to millions of viewers, and in

                  which Ms. Kaplan not only spoke at length about this case but showcased one of

                  the plaintiffs, Marissa Blair.       Ms. Blair described her experiences in

                  Charlottesville and stated that the defendants were not at Charlottesville to

                  exercise their First Amendment rights (even though they obtained a permit to



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                    march via an injunction issued by this Court) but to incite violence and scare

                    people. Ms. Kaplan described Peinovich and the other defendants as “Nazis”

                    who hate blacks, gays, Jews, and women, and analogized them to anti-abortion

                    protestors who murder doctors.

            In his discussion of legal authority, Peinovich cited, among other authority, the New York

  and American Bar Association versions of Rule of Professional Conduct 3.6, which places limits

  on the nature and extent of pretrial publicity attorneys can ethically create or engage in in jury

  trials.   Peinovich acknowledged that Rule 3.6 of the Virginia Rules of Professional Conduct

  applies only to criminal trials, but explained, correctly he submits, that this Court has inherent

  authority to look to the New York (Ms. Kaplan is a member of the New York bar) or ABA rule

  for guidance in addressing whether Ms. Kaplan’s pretrial publicity campaign should be

  sanctioned or restrained.

            Ms. Kaplan’s Opposition Memorandum. In her opposition memorandum, Ms. Kaplan

  sought to minimize the caustic and prejudicial nature of her tweets and other extrajudicial

  statements, made a “you do it too” argument citing primarily alleged statements by defendants

  (who are not attorneys) other than Peinovich (who is also not an attorney), and sought to dilute

  the ethical standards to which she was subject so that they became virtually meaningless. She

  did not even attempt to defend her tweets falsely linking Peinovich and the other defendants to

  Nikolas Cruz and presented no evidence that the “American Identitarian Party” was allied with

  or known to Peinovich, or even an actual entity.

            Peinovich’s Reply Memorandum. In his reply memorandum, Peinovich addressed all

  of Ms. Kaplan’s arguments in her opposition, further substantiating in detail the blatantly



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  unethical and prejudicial nature of her tweets and other extrajudicial statements and refuting her

  contention that no legal authority supported the remedies that Peinovich sought.

         The Magistrate Judge’s March 22, 2018 Order. The Magistrate Judge’s three-page

  March 22, 2018 order consists essentially of a discussion of the Magistrate Judge’s authority

  under a federal court’s inherent power and also under Fed. R. Civ. P. 16(c)(2)(P), a rejection of

  Peinovich’s request that plaintiffs’ complaint be dismissed, a statement that “the Court is not

  persuaded that [Ms. Kaplan] contravened any applicable statute or rule,” a statement that

  “’nothing presented thus far suggests’ counsel’s statements ‘present a reasonable likelihood of

  tainting the jury pool,’” and a statement that “Ms. Kaplan’s comments do not directly attribute of

  of the third-party statements, of which Mr. Peinovich objects, to the Defendants.” Nowhere does

  the Magistrate’s order mention Rule 3.6 or specifically address or even mention Ms. Kaplan’s

  tweets and other extrajudicial statements linking the defendants to Nikolas Cruz, calling the

  defendants “modern day Hamans” on Purim, attributing offensive posts by unknown entities to

  the defendants, calling the defendants “Nazis” who hate women, or any of her other extrajudicial

  statements Peinovich substantiated in his initial motion and reply memorandum.

                                              Standard of Review

         Under Federal Rule of Civil Procedure 72(a), a party may serve and file objections to a

  magistrate’s order within 14 days after being served with a copy. Rule 72(a) further states that

  “[t]he district judge in the case must consider timely objections and modify or set aside any part

  of the order that is clearly erroneous or is contrary to law.”

                                     Grounds for Peinovich’s Objections




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          Peinovich does not object to the specific portion of the Magistrate’s order rejecting

  Peinovich’s request for dismissal of the complaint. He does, however, object to the Magistrate’s

  conclusion that Ms. Kaplan’s pretrial publicity campaign, as manifested in her tweets, interviews,

  and other extrajudicial statements, contravened no ethical rules or standards and was not

  prejudicial to Peinovich and the other defendants.        The Magistrate’s order effectively and

  improperly gives Ms. Kaplan carte blanche to continue her blatantly unethical actions.

         The precise ground on which the Magistrate denied Peinovich’s alternative request that

  Ms. Kaplan be instructed to cease further improper and unethical pretrial extrajudicial statements

  is not fully apparent from the Magistrate’s order.       There is perhaps some implication that

  Peinovich’s alternative request was too vague to be enforced.                In Peinovich’s reply

  memorandum, however, he stated with particularity the remedy he was requesting, namely, that

  Ms. Kaplan be instructed to comply with the New York or ABA version of Ethical Rule 3.6 or a

  substantially similar standard:

                  The “substantial likelihood of material prejudice” standard has been fleshed out in
         many versions of Rule 3.6, including the American Bar Association and New York
         versions. Certain fact situations have been crystalized as safe harbors – clearly not
         prejudicial – or, on the other hand, as presumptively prejudicial. If Ms. Kaplan in this
         case had stayed within the safe harbors – e.g., stating (1) the claim, offense or defense
         and the identity of the persons involved; (2) information contained in a public record; (3)
         that an investigation of a matter is in progress; or (4) the scheduling or result of any step
         in litigation – Peinovich would never have filed his present motion. But Ms. Kaplan has
         strayed far beyond these safe harbors and into areas that are presumptively prejudicial –
         e.g., the character, credibility, and reputation of a party or witness and the expected
         testimony of a party or witness; and information she knows or reasonably should know is
         likely to be inadmissible as evidence in a trial and would, if disclosed, create a substantial
         risk of prejudicing an impartial trial.

         Peinovich Reply Memo. at 8.


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         The Magistrate’s laconic order leaves uncertain whether the Magistrate was holding that

  1) Rule 3.6, as articulated in the New York or ABA versions, or substantially similar standards,

  does not apply, or 2) assuming Rule 3.6 or a substantially similar ethical standard does apply,

  Peinovich failed to demonstrate Ms. Kaplan’s contravention of it. Under either interpretation,

  the order is clearly erroneous.

         It cannot be that this federal Court is powerless to restrain an attorney’s pretrial publicity

  campaign simply because the Virginia ethical rules have limited Virginia’s Rule 3.6 to criminal

  cases. It is within this Court’s discretion under its inherent powers to adopt, not adopt, or modify

  the Virginia Rules. This Court has the authority – indeed the obligation – to protect the rights of

  Peinovich and the other defendants to a fair jury trial. In doing so it is appropriate that the Court

  draw guidance from the wisdom and experience embodied in the New York and ABA versions of

  Rule 3.6.

         Ms. Kaplan’s contravention of the New York and ABA Rule 3.6 is flagrant. She did far

  more than merely state “the claim, offense or defense and the identity of the persons involved . . .

  [and] information contained in a public record.” No safe harbor protected her actions. She

  falsely linked Peinovich and the other defendants to Nikolas Cruz, the suspected murderer of 17

  school children; characterized Peinovich and the other defendants as “modern day Hamans,” i.e.,

  as embodiments of evil under Rabbinical traditions; arranged for one of the plaintiffs to describe

  her version of the events in Charlottesville before a large audience, in a presentation that was

  then made available on a website accessible by millions of persons; described Peinovich and the

  other defendants as hateful Nazis in that same presentation; without any evidence, tied offensive

  posts by unknown persons to Peinovich and the other defendants; repeatedly attributed alleged



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  acts of any defendant to all the other defendants, including Peinovich, thus implicitly bolstering

  plaintiffs’ conspiracy claims in their complaint; and took many other actions aimed at turning

  the public, including the public in the Western District of Virginia, against Peinovich and the

  other defendants. Ms. Kaplan’s tweet linking defendants to Nikolas Cruz is so indefensible Ms.

  Kaplan did not even try to defend it in her opposition memorandum and the Magistrate Judge did

  not even mention it in his order. Peinovich carefully and fully substantiated all of Ms. Kaplan’s

  pretrial publicity actions in his motion and reply memorandum.        On no fair and reasonable

  interpretation of Rule 3.6 or a similar ethical standard should Ms. Kaplan’s actions be condoned,

  as the Magistrate’s order has done.

         The Magistrate’s statement that statement that “’nothing presented thus far suggests’

  counsel’s statements ‘present a reasonable likelihood of tainting the jury pool’” unfairly places a

  virtually impossible burden on Peinovich and the other defendants.        Ms. Kaplan has a large

  following for her tweets, and her tweets are undoubtedly retweeted. Peinovich cannot know

  whether some of these tweets and retweets reach persons in Virginia. He also cannot know

  whether some of the potentially millions of persons who observed, in person or online, Ms.

  Kaplan’s attack on Peinovich at the MAKERS conference are from Virginia or have influence on

  persons in Virginia. Further, Ms. Kaplan has given interviews in the New York Times attacking

  Peinovich and the other defendants, and the New York Times obviously reaches persons in

  Virginia. The appropriate approach to this issue is to ask whether Ms. Kaplan’s pretrial publicity

  campaign raises significant risks of prejudicing Peinovich and the other defendants. This is

  surely the case, given the inflammatory nature of her actions, the nature of the media she has

  chosen to use, and the issues involved.



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                                              CONCLUSION

         For the reasons stated, Peinovich respectfully requests that the Magistrate’s March 22,

  2018 order be reversed and that Ms. Kaplan be instructed to cease her unethical and prejudicial

  extrajudicial statements, as manifested by her actions described in Peinovich’s initial motion and

  reply memorandum.



  Dated: April 5, 2018.




                                                              Respectfully submitted,




                                                              Michael Peinovich, Pro Se




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                                  CERTIFICATE OF SERVICE

         On this 5th day of April, 2018, I Michael Peinovich certify that I served electronically or

  mailed copies of this reply memorandum to:

  Christopher Greene <cgreene@kaplanandcompany.com>,
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                                                              Michael Peinovich




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